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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              October 2023 Grand Jury

11   UNITED STATES OF AMERICA,                No. 2:23-cr-00599-MCS

12              Plaintiff,                    I N D I C T M E N T

13                   v.                       [26 U.S.C. § 7201: evasion of
                                              assessment; 26 U.S.C. § 7203:
14   ROBERT HUNTER BIDEN,                     failure to file and pay taxes; 26
                                              U.S.C. § 7206: false or fraudulent
15              Defendant.                    tax return]

16

17
          The Grand Jury charges:
18
                                INTRODUCTORY ALLEGATIONS
19
          At times relevant to this Indictment:
20
          1.    Defendant ROBERT HUNTER BIDEN (hereafter “the Defendant”)
21
     was a Georgetown- and Yale-educated lawyer, lobbyist, consultant, and
22
     businessperson and, beginning in April 2018, a resident of Los
23
     Angeles, California.
24
          2.    At times relevant to this Indictment, the Defendant served
25
     on the board of a Ukrainian industrial conglomerate and a Chinese
26
     private equity fund. He negotiated and executed contracts and
27
     agreements for business and legal services that paid millions of
28
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 1   dollars of compensation to him and/or his domestic corporations,

 2   Owasco, PC and Owasco, LLC.

 3        3.    In addition to his business interests, the Defendant was an

 4   employee of a multi-national law firm working in an “of counsel”

 5   capacity from 2009 through at least 2017.

 6        4.    The Defendant engaged in a four-year scheme to not pay at

 7   least $1.4 million in self-assessed federal taxes he owed for tax

 8   years 2016 through 2019, from in or about January 2017 through in or

 9   about October 15, 2020, and to evade the assessment of taxes for tax

10   year 2018 when he filed false returns in or about February 2020.                  In

11   furtherance of that scheme, the Defendant:

12              a.    subverted the payroll and tax withholding process of

13   his own company, Owasco, PC by withdrawing millions from Owasco, PC
14
     outside of the payroll and tax withholding process that it was
15
     designed to perform;
16
                b.    spent millions of dollars on an extravagant lifestyle
17
     rather than paying his tax bills;
18

19              c.    in 2018, stopped paying his outstanding and overdue

20   taxes for tax year 2015;

21              d.    willfully failed to pay his 2016, 2017, 2018, and 2019
22   taxes on time, despite having access to funds to pay some or all of
23
     these taxes;
24
                e.    willfully failed to file his 2017 and 2018 tax returns
25
     on time; and
26

27

28

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 1                f.   when he did finally file his 2018 returns, included

 2   false business deductions in order to evade assessment of taxes to
 3
     reduce the substantial tax liabilities he faced as of February 2020.
 4
       A. The Defendant made millions of dollars in income from 2016-2020.
 5
          5.      Between 2016 and October 15, 2020, the Defendant
 6
     individually received more than $7 million in total gross income.
 7
     This included in excess of $1.5 million in 2016, $2.3 million in
 8
     2017, $2.1 million in 2018, $1 million in 2019 and approximately
 9
     $188,000 from January through October 15, 2020.            In addition, from
10
     January through October 15, 2020, the Defendant received
11
     approximately $1.2 million in financial support to fund his
12
     extravagant lifestyle.
13
                i.Burisma Holdings Limited
14
          6.      In or around April 2014, the Defendant joined the board of
15
     directors of Burisma Holdings Limited (“Burisma”), a Ukrainian
16
     industrial conglomerate. Burisma agreed to pay the Defendant an
17
     annual salary of approximately $1,000,000, to be paid in monthly
18
     disbursements. In March 2017, Burisma reduced his compensation to
19
     approximately $500,000 a year but he continued to serve on the board
20
     of directors until in or around April 2019. As a result, he received
21
     a total of approximately $1,002,016 in 2016, $630,556 in 2017,
22
     $491,939 in 2018, and $160,207 in 2019.
23
               ii.The Romanian Contract
24
          7.      In the fall of 2015, the Defendant entered into an oral
25
     agreement with Business Associate 1 purportedly to help a Romanian
26
     businessperson, G.P., contest bribery charges he was facing in his
27
     home country. G.P. paid an entity associated with Business Associate
28
     1, through G.P.’s Romanian business. Between November 2015 and May
                                       3
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 1   2017, Business Associate 1’s entity received approximately

 2   $3,101,258, which was split roughly into thirds between the

 3   Defendant, Business Associate 1, and Business Associate 2.

 4               iii. CEFC China Energy Co Ltd.

 5        8.     In the late fall of 2015, the Defendant, Business Associate

 6   1, and Business Associate 2 began to investigate potential

 7   infrastructure projects with individuals associated with CEFC China

 8   Energy Co Ltd. (CEFC), a Chinese energy conglomerate.

 9        9.     In or around December of that year, the Defendant met in

10   Washington, D.C., with individuals associated with CEFC.              During the

11   next two years the Defendant, Business Associate 1, and Business

12   Associate 2 continued to meet with individuals associated with CEFC,

13   including in February 2017, with CEFC’s then-Chairman (hereafter “the

14   Chairman”).

15        10.    On or about March 1, 2017, State Energy HK, a Hong Kong

16   entity associated with CEFC, paid approximately $3 million to

17   Business Associate 1’s entity for sourcing deals and for identifying

18   other potential ventures. The Defendant had an oral agreement with

19   Business Associate 1 to receive one-third of those funds, or a

20   million dollars.    The Defendant, in turn, directed a portion of those

21   million dollars to Business Associate 3.

22        11.    After the State Energy HK payment, the Defendant, Business

23   Associate 1, and Business Associate 2 began negotiating a joint

24   venture with individuals associated with CEFC, which they called

25   SinoHawk.

26        12.    Over the summer of 2017, the Defendant cut out his SinoHawk

27   business partners and separately negotiated a venture with

28   individuals associated with CEFC called Hudson West III (“HWIII”).

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 1        13.   On or about August 2, 2017, the Defendant executed, on

 2   behalf of Owasco, PC the operating agreement for HWIII. HWIII was

 3   funded with an initial $5,000,000 capital contribution from an entity

 4   that was not owned or controlled by the Defendant. The contract

 5   further named the Defendant as a “manager” of HWIII and specified

 6   that he would receive “compensation” of $100,000 per month and a one-

 7   time retainer fee of $500,000. Owasco, PC paid no capital

 8   contribution for its ownership share of HWIII.

 9        14.   Shortly after execution of the contract, on or about August

10   8, 2017, HWIII transferred approximately $400,000 to Owasco, PC.

11   Thereafter, Owasco, PC received monthly transfers of approximately

12   $165,000. In total, HWIII made seven transfers to Owasco, PC in 2017

13   totaling approximately $1.445 million. The Defendant then transferred

14   approximately $555,000 of these funds from Owasco, PC’s Wells Fargo

15   Account to Business Associate 3. In 2018, HWIII made another 15

16   transfers to Owasco, PC, totaling approximately $2.1 million, and the

17   Defendant transferred approximately $843,999 of these funds to

18   Business Associate 3.

19              iv.   Skaneateles

20        15.   On or about September 21, 2017, the Defendant received a
21   transfer of approximately $666,572 from Skaneateles, which was a
22   partnership owned 75 percent by the Defendant and 25 percent by
23   Business Associate 4. The Defendant and Business Associate 4 had a
24   variety of business interests and investments.
25              v.    “Global”
26
          16.   “Global” was a venture capital firm founded and operated by
27
     a “Trial Attorney.” The Defendant and Business Associate 4 received
28
     equity in Global in exchange for introducing Trial Attorney to their
                                       5
     Case 2:23-cr-00599-MCS   Document 1   Filed 12/07/23   Page 6 of 56 Page ID #:6



 1   contacts in China and India. On or about March 21, 2019, the

 2   Defendant received a distribution of approximately $619,000 from

 3   Global via Skaneateles.

 4              vi.   Financial Support from Personal Friend

 5        17.   From January through October 15, 2020, an entertainment
 6   lawyer (hereafter “Personal Friend”) provided the Defendant with
 7   substantial financial support including approximately $200,000 to
 8   rent a lavish house on a canal in Venice, California; $11,000 in
 9   payments for his Porsche; and other individual items. In total, the
10   Defendant had Personal Friend pay over $1.2 million to third parties
11   for the Defendant’s benefit from January through October 15, 2020.
12              vii. Beautiful Things
13        18.   In 2019, the Defendant began writing a non-fiction memoir
14   where he described his substance abuse and addiction issues that was
15   ultimately titled Beautiful Things.        On November 25, 2019, the
16   Defendant signed a contract with a publishing house.             From January
17   through October 15, 2020, the Defendant received approximately
18   $140,625 paid into his wife’s bank account related to the book.
19     B. The Defendant had a legal obligation to file and pay taxes.
20
          19.   The U.S. income tax system (hereafter “the U.S. system”)
21
     imposes a tax base on income on individuals and corporations.               The
22
     tax is taxable income, as defined, times a specified tax rate.               The
23
     U.S. system allows reduction of taxable income for both business and
24
     some nonbusiness expenditures, called deductions.            Business
25
     deductions must be both necessary and ordinary.
26
          20.   The U.S. system is based on self-assessment. That means
27
     that taxpayers must declare and pay tax without being told the amount
28
     that is due by the taxing authority.
                                       6
     Case 2:23-cr-00599-MCS   Document 1   Filed 12/07/23   Page 7 of 56 Page ID #:7



 1        21.    The U.S. system is also pay-as-you-go, meaning that taxes

 2   must either be withheld from wages and paid over to the U.S. Treasury

 3   in the year in which income is earned, which is the case with most

 4   taxpayers, or be paid quarterly to the U.S. Treasury on an estimated

 5   basis, again during the year in which the income that is taxed is

 6   earned.    When taxes are filed in the following year, any withholdings

 7   or estimated tax payments are applied against what a taxpayer owes,

 8   resulting either in a refund or an amount due to the U.S. Treasury.

 9        22.    The U.S. system relies on the honesty and integrity of

10   individual taxpayers.     While the Internal Revenue Service (“IRS”)

11   audits some tax returns each year, as a practical matter it can only

12   audit a tiny fraction of taxpayers.

13        23.    Tax returns are typically due on April 15 of the calendar

14   year following the tax year.      A taxpayer may request and receive an

15   extension to file his return, which generally makes the due date

16   October 15.    Taxpayers are required to pay any taxes owed on April

17   15, regardless of whether they file a return on that date.              In other

18   words, an extension to file a return does not entitle a taxpayer to

19   delay paying taxes—those are still due on or about April 15.

20        24.    Form 1040, U.S. Individual Income Tax Return, is the

21   standard IRS form that individual taxpayers use to file their annual

22   income tax returns. The form contains sections that require taxpayers

23   to disclose their taxable income for the year to determine whether

24   additional taxes are due and owing or whether the filer will receive

25   a tax refund.

26        25.    Form 1120, U.S. Corporation Income Tax Return, is the

27   standard IRS form that domestic corporations, also referred to as “C

28   Corporations,” use to file their annual income tax returns.               C

                                             7
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 1   Corporations report their income, gains, losses, deductions, and

 2   credits on Form 1120 and use it to determine their income tax

 3   liability.     Owasco, PC of which the Defendant was the 100 percent

 4   owner, was a C Corporation that had to file a U.S. Corporate Income

 5   Tax Return, on Form 1120, and pay taxes on its income.

 6           26.   The Defendant had a legal obligation to pay taxes on all

 7   his income, including income earned in Ukraine from his service on

 8   Burisma’s Board, fees generated by deal-making with the Chinese

 9   private equity fund, as well as income derived from his work as a

10   lawyer and other sources.

11     C. The Defendant owed substantial individual income taxes in tax

12           years 2016, 2017, 2018, and 2019.
13
             27.   The following is a summary of the self-assessed taxes that
14
     the Defendant reported he owed on his Forms 1040 and failed to timely
15
     pay:
16
       TAX     RETURN DUE   DATE RETURN      GROSS TOTAL        REPORTED      SELF-ASSESSED
17    YEAR        DATE         FILED            INCOME           TAXABLE     TAX DUE AT TIME
                                                                  INCOME        OF FILING
18
      2016     10/16/2017     6/12/2020       $1,580,283        $1,276,499          $45,661
19
      2017     10/15/2018     2/18/2020       $2,376,436        $1,956,003         $581,713
20
      2018     10/15/2019     2/18/2020       $2,187,286        $1,688,495         $620,901
21
      2019     10/15/2020     10/15/2020      $1,045,850          $843,577         $197,372
22

23
       D. The Defendant knew he had to file and pay taxes.
24
             28.   Because of his varied income streams and to facilitate the
25
     withholding and payments of taxes to the IRS, the Defendant formed
26
     Owasco, PC, a C Corporation, in or about 2006. Owasco, PC’s sole
27
     purpose was to ensure that there were sufficient withholdings from
28

                                                 8
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 1   all the streams of the Defendant’s income to pay his taxes.               Instead

 2   of receiving income directly into his personal bank account, the

 3   Defendant directed third parties to pay Owasco, PC, which had its own

 4   bank account, any income owed to him.         Owasco, PC then used a payroll

 5   service to pay the Defendant a salary out of the income it received.

 6   The payroll service made tax withholdings on behalf of the Defendant,

 7   which it paid over to the IRS, and the Defendant also made quarterly

 8   payments and payments with extensions to the IRS, all in anticipation

 9   of when the Defendant filed his individual income tax return.

10   Because the Defendant’s income varied from year to year, the

11   Defendant, in consultation with his Washington, D.C.-based accountant

12   (hereafter “D.C. Accountant”) and Business Associate 4, periodically

13   adjusted his tax withholdings to ensure that he did not generate

14   additional tax liabilities.

15        29.   The Defendant and Business Associate 4 also created a

16   standalone bank account that they referred to as a “tax account,”

17   into which the Defendant deposited funds to pay taxes if he owed

18   anything beyond the withholdings made by Owasco, PC.

19        30.   This arrangement meant that the Defendant had to file an

20   individual income tax return, on IRS Form 1040, where he reported the

21   income he earned from Owasco, PC and other sources, and could pay

22   taxes on that income using the withholdings Owasco, PC had made, and

23   funds from his tax account.      The Defendant also had to file a

24   separate corporate income tax return for Owasco, PC on IRS Form 1120,

25   and could pay any taxes it owed from Owasco, PC’s bank account.               This

26   structure generally functioned effectively until 2017 when the

27   Defendant, as detailed below, subverted it.

28

                                             9
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 1         31.     Irrespective of the Owasco, PC structure and his standalone

 2    “tax account,” the Defendant knew he had to file individual and

 3    corporate income tax returns and pay tax on the income that he earned

 4    in 2016, 2017, 2018, and 2019.        He had done so for tax years 2014 and

 5    2015, the two years preceding his scheme to not pay taxes.

 6                 a.   The Defendant timely filed, after requesting an

 7    extension, his 2014 individual income tax return on IRS Form 1040 on

 8    October 9, 2015.    The Defendant reported owing $239,076 in taxes, and

 9    having already paid $246,996 to the IRS, the Defendant claimed he was

10    entitled to a refund of $7,920.        The Defendant did not report his

11    income from Burisma on his 2014 Form 1040.             All the money the

12    Defendant received from Burisma in 2014 went to a company, hereafter

13    “ABC”, and was deposited into its bank account.             ABC and its bank

14    account were owned and controlled by a business partner of the

15    Defendant’s, Business Associate 5.           Business Associate 5 was also a

16    member of Burisma’s Board of Directors.           The Defendant received

17    transfers of funds from the ABC bank account and funds from the ABC

18    bank account were used to make investments on the Defendant’s behalf.

19    Because he owned ABC, Business Associate 5 paid taxes on income that

20    he and the Defendant received from Burisma. Starting in November

21    2015, the Defendant directed his Burisma Board fees to an Owasco, PC

22    bank account that he controlled.

23                 b.   The Defendant timely filed, after requesting an

24    extension, his 2015 individual income tax return on IRS Form 1040 on

25    October 17, 2016.       The Defendant reported owing $820,801 in taxes and

26    having withheld $644,781, he owed the IRS $176,550.              For tax year

27    2015, the Defendant declared income he received from Burisma on his

28    Form 1040.

                                              10
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 1         32.    From at least January 2017 through April 2017, Business

 2    Associate 4 and Personal Assistant 1 provided the Defendant with

 3    periodic updates regarding his cashflow and outstanding liabilities,

 4    including his various income tax liabilities.

 5         33.    From April 2017 to September 2017, Personal Assistant 1

 6    sent the Defendant, a “weekly bill update” detailing his IRS

 7    liabilities and other outstanding bills.

 8         34.    The Defendant controlled his finances and directed Business

 9    Associate 4 and Personal Assistant 1 to pay certain bills and not

10    others.    The Defendant routinely chose to pay personal expenses and

11    not pay his outstanding tax liabilities.

12         35.    Further, beginning in or around May 2017, the Defendant

13    began to make periodic $10,000 payments to the IRS towards his

14    outstanding 2015 individual income tax liability. Between May 2017

15    and March 2018, he made seven such payments totaling $70,000 but made

16    no further payments after March 2018. At that time, he still owed

17    $106,020 for tax year 2015.

18         36.    The Defendant used the services of D.C. Accountant from

19    January 1, 2017, until D.C. Accountant’s death in or about June 2019.

20    In November 2019, the Defendant engaged the services of an accounting

21    firm in Los Angeles, California (hereafter the “CA Accountants”).

22       E. Rather than pay his taxes, the Defendant spent millions of

23         dollars on an extravagant lifestyle.
24
           37.    The Defendant spent millions of dollars on an extravagant
25
      lifestyle at the same time he chose not to pay his taxes.              The
26
      Defendant spent approximately $1 million in 2016, $1.4 million in
27
      2017, $1.8 million in 2018, and $600,000 in 2019. From January
28
      through October 15, 2020, the Defendant received more than $1.2
                                        11
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 1    million in financial support that was used to pay various personal

 2    expenses but not any of his federal individual income tax liabilities

 3    for 2016-2019.    Between 2016 and October 15, 2020, the Defendant

 4    spent this money on drugs, escorts and girlfriends, luxury hotels and

 5    rental properties, exotic cars, clothing, and other items of a

 6    personal nature, in short, everything but his taxes.

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 1         38.   The following is a summary of the approximate expenditures

 2    that the Defendant made instead of paying his taxes:

 3
       Summary of Approx. Expenses Made from Owasco, PC and the Defendant’s Bank Accounts
 4                                       (2016 to 2019)

 5                                                                                     Grand
                                  2016         2017            2018        2019
            Description                                                                Total
 6           ATM / Cash
                              $200,922     $503,614       $772,548     $186,920   $1,664,004
             Withdrawal
 7     Payments – Various
                                $4,400     $138,837       $383,548     $156,427     $683,212
                 Women
 8           Clothing &
                               $78,580     $113,905       $151,459      $53,586     $397,530
            Accessories
 9             Tuition/
             Education/       $117,281      $94,497         $93,213      $4,286     $309,277
10       Extracurricular
         Health, Beauty,
                               $54,789     $110,239         $46,347     $26,121     $237,496
11             Pharmacy
           Misc. Retail
                               $51,629      $75,941         $78,135     $30,929     $236,634
12            Purchases
        Food, Groceries,
                               $67,281      $73,219         $40,590     $33,833     $214,923
13          Restaurants
             Insurance         $41,808      $47,060         $90,535     $24,412     $203,815
14       Loan / Mortgage
                              $144,396      $43,647            $500      $3,330     $191,873
              Payments
15              Adult
                                $4,411      $56,846       $100,330      $27,373     $188,960
          Entertainment
16     Legal & Accounting
                               $33,379     $103,745         $9,745         $700     $147,566
                 Fees
17         Telephone /
                               $37,319      $29,623         $22,977     $28,521     $118,440
             Utilities
18        Rehab (Drug &
                                $7,600      $28,600         $35,669                  $71,869
              Alcohol)
19         Wells Fargo
         Advisors - Roth       $53,000                                               $53,000
20                IRA
           Credit Card
                                $7,464      $18,479         $12,000     $20,599      $58,542
              Payments
21
       Home Improvement /
                               $33,168       $3,574          $5,763        $351      $42,856
           Maintenance
22         Home Help /
            Cleaning /         $22,855      $16,946                                  $39,801
23           Childcare
         Entertainment          $8,172       $6,148          $7,500      $2,625      $24,445
24
            Sports /
                               $22,387             $8        $1,172                  $23,567
25         Recreation
          Grand Total         $990,841   $1,464,928     $1,852,031     $600,013   $4,907,813
26

27

28

                                              13
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 1       F. The Defendant late filed his taxes when facing contempt charges

 2         in two civil lawsuits.
 3
           39.   In 2019 and early 2020, the Defendant became embroiled in
 4
      two civil lawsuits. As part of the lawsuits, he had to produce
 5
      financial records, including his tax returns. These lawsuits forced
 6
      the Defendant to file his outstanding tax returns for 2017 and 2018.
 7
           40.   Beginning in May 2019, Person 1 brought a paternity and
 8
      child-support action in Arkansas state court against the Defendant.
 9
      In June 2019, the Defendant’s ex-wife brought a motion to enforce a
10
      marital separation agreement between herself and the Defendant in the
11
      Superior Court of the District of Columbia (“D.C. Superior Court”)
12
      because the Defendant had stopped making spousal support payments and
13
      refused to provide financial records, including his tax returns, that
14
      were necessary to calculate the amount of spousal support he owed,
15
      per his agreement with his ex-wife.
16
           41.   In 2019, the Defendant continually stonewalled the
17
      production of financial records through which Person 1 and the
18
      Defendant’s ex-wife and the courts sought to ascertain the
19
      Defendant’s financial situation and ability to pay.
20
           42.   The demands for the Defendant’s tax returns steadily
21
      increased, escalating in November 2019.          That month the Defendant
22
      hired the CA Accountants to prepare his late and unfiled individual
23
      income tax returns and Owasco, PC’s corporate returns for the 2017
24
      and 2018 tax years.
25
           43.   Subsequently, an Arkansas court issued an order that the
26
      Defendant had until January 16, 2020, to produce his individual
27
      income tax returns for 2017 and 2018. The D.C. Superior Court
28
      likewise ordered the Defendant to produce the same returns by January
                                        14
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 1    17, 2020. The Defendant missed both deadlines, prompting counsel in

 2    the Arkansas case and in the D.C. Superior Court case to move for

 3    contempt.     If the Defendant were found to be in contempt, either

 4    court could incarcerate the Defendant for his failure to comply with

 5    court orders.

 6            44.   On January 21, 2020, the Arkansas court issued an order

 7    that the Defendant appear and show cause why he should not be held in

 8    contempt. After the Defendant entered into a temporary child support

 9    agreement with Person 1, the court continued the hearing on the

10    motion for contempt and gave the Defendant until March 1, 2020, to

11    provide the missing records, including his 2017 and 2018 individual

12    income tax returns.

13            45.   On or about February 18, 2020, the Defendant late filed his

14    2017 Form 1040. On the 2017 Form 1040, the Defendant reported

15    $1,956,003 in taxable income and $581,713 in tax due and owing.               The

16    Defendant chose not to pay any of his outstanding 2017 tax liability

17    when he late filed his 2017 Form 1040 in February 2020.

18            46.   That same day, the Defendant also late filed his 2018 Form

19    1040.    On the 2018 Form 1040, the Defendant reported $1,688,495 in

20    taxable income for 2018 and $620,901 in tax due and owing.              The

21    Defendant again chose not to pay any of his outstanding 2018 tax

22    liability when he late filed his 2018 Form 1040 in February 2020.

23            47.   On June 12, 2020, the Defendant late filed his 2016 Form

24    1040. On the 2016 Form 1040, the Defendant reported $1,276,499 in

25    taxable income for 2016 and $45,661 in tax due and owing. The

26    Defendant chose not to pay any of his outstanding 2016 tax liability

27    when he late filed his 2016 Form 1040 in June 2020.

28

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 1       G. The Defendant had the funds to pay his taxes in 2017, 2018,

 2           2019, and 2020.
 3           48.   As described in more detail below, in each year in which he
 4    failed to pay his taxes, the Defendant had sufficient funds available
 5    to him to pay some or all of his outstanding taxes when they were
 6    due.   But he chose not to pay them.         Notably, in 2020, well after he
 7    had regained his sobriety, and when he finally filed his outstanding
 8    2016, 2017, and 2018 Forms 1040, the Defendant did not direct any
 9    payments toward his tax liabilities for each of those years.                At the
10    same time, the Defendant spent large sums to maintain his lifestyle
11    from January through October 15, 2020. In that period, he received
12    financial support from Personal Friend totaling approximately $1.2
13    million.     The financial support included hundreds of thousands of
14    dollars in payments for, among other things, housing, media
15    relations, accountants, lawyers, and his Porsche. For example, the
16    Defendant spent $17,500 each month, totaling approximately $200,000
17    from January through October 15, 2020, on a lavish house on a canal
18    in Venice Beach, California. Thus, the Defendant’s practice of tax
19    non-compliance in the 2017 and 2018 tax years — where the IRS stood
20    as the last creditor to be paid — persisted into later tax years.
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 1                                         COUNT ONE

 2                  [26 U.S.C. § 7203: failure to pay 2016 Form 1040]

 3            49.   The Grand Jury re-alleges paragraphs 1 through 48 of this

 4    Indictment here.

 5       A. The Defendant earned a substantial income in 2016.

 6            50.   Over the course of 2016, the Defendant earned approximately
 7    $1,580,283 in gross income from the sources identified above.
 8       B. The Defendant had a legal obligation to file a U.S. Individual
 9            Income Tax Return for 2016.
10            51.   For tax year 2016, anyone under 65, filing jointly with
11    their spouse, or individually, and who made more than $20,700, or
12    $10,350, respectively, had to file a federal tax return by April 18,
13    2017, unless granted an extension to October 16, 2017.
14       C. The Defendant did not timely file a U.S. Individual Income Tax
15            Return for 2016.
16            52.   The Defendant filed a request for an extension in 2017
17    which meant that his 2016 Form 1040 was due no later than October 16,
18    2017.    The Defendant did not timely file his 2016 Form 1040 by that
19    date.
20       D. The Defendant knew he had to file and pay taxes for 2016.
21            53.   On or about April 21, 2016, Defendant made an estimated tax
22    payment of $30,000 towards his 2016 individual income tax liability.
23            54.   In 2017, Business Associate 4 and Personal Assistant 1
24    frequently apprised the Defendant that he owed taxes for the 2016 tax
25    year. For example, on April 15, 2017, Business Associate 4 forwarded
26    the Defendant an email from D.C. Accountant, which stated, “Looks
27    like Owasco will owe about $52,000 and Hunter (individually) will owe
28    about $26,000.” The taxes the Defendant owed individually were in
                                              17
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 1    addition to the $30,000 estimated payment he had made the previous

 2    year.    On or about April 15, 2017, an extension was filed but no

 3    further payment was made.

 4            55.   In October 2017, D.C. Accountant used information provided

 5    by Business Associate 4 and Personal Assistant 1 to prepare a Form

 6    1040 for the Defendant and a Form 1120 for Owasco, PC. The Form 1040

 7    indicated that the Defendant owed taxes in addition to what he had

 8    already paid.     Business Associate 4 reviewed the prepared returns and

 9    left them for the Defendant at his office. Business Associate 4 then

10    emailed the Defendant advising him as much. The Defendant was

11    responsible for signing and mailing his returns.

12            56.   On or about November 27, 2017, the Defendant sent the

13    following email to Business Associate 4 and Personal Assistant 1:

14            Also I just saw last week the unmarked envelope in. The
              office e (sic) requiring signatures for my taxes. I wish
15            someone had told me- but its my fault for to (sic) thinking
              of that or for having ignored an email im sure Ione (sic)
16
              of you sent saying there is a large envelope in the office
17            sitting b (sic) the door which requires 50 signatures
              including [ex-wife’s] . . .
18
              57.   The Defendant brought the 2016 Form 1040 to his ex-wife and
19
      asked her to sign it.     She said she would, after reviewing the return
20
      with her accountant.     She did so and sent the signed return to the
21
      Defendant the next day.
22
              58.   On March 9, 2018, the Defendant’s ex-wife texted him that
23
      she had discovered their unfiled 2016 tax returns in the trunk of his
24
      car. The Defendant responded telling her, “The taxes are filed those
25
      were copies with [Personal Assistant 1]’s notes.”            The tax returns
26
      had not been filed.     The Defendant’s ex-wife responded telling him
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 1    they were not copies because they still had checks attached to them

 2    and were originals.

 3            59.   On or about July 18, 2018, the IRS received a late filed

 4    2016 Form 1120 for Owasco, PC.       The Defendant did not submit an

 5    individual income tax return when he mailed the corporate one.

 6       E. The Defendant owed taxes for 2016, which he did not timely pay.

 7            60.   The Defendant owed individual income taxes for 2016 which
 8    were due on or before April 18, 2017.
 9            61.   The Defendant knew he had to pay taxes for the 2016 tax
10    year in 2017 because on or about April 21, 2016, he made a payment of
11    $30,000 towards his 2016 tax liability and on or about April 18,
12    2017, the D.C. Accountant told him he owed an additional $26,000.
13            62.   In 2019, as described above, the Defendant retained the CA
14    Accountants.     The CA Accountants contacted the IRS on January 22,
15    2020, and learned that the Defendant had not filed an individual
16    income tax return for 2016. They then prepared a Form 1040 for the
17    Defendant, which he reviewed and late filed on June 12, 2020. In that
18    return, the Defendant self-assessed that he owed an additional
19    $45,661 in taxes. He did not pay the $45,661 when he filed in June
20    2020.
21       F. The Defendant had the funds available to pay his taxes when they
22            were due.
23            63.   When the Defendant finally filed his 2016 Form 1040, on
24    June 12, 2020, he had funds available to pay some or all of his taxes
25    owed for 2016 but chose not to do so.
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 1       G. Rather than pay his taxes, the Defendant spent millions of

 2            dollars on an extravagant lifestyle.
 3
              64.   From January to June of 2020, the Defendant spent
 4
      approximately $187,000 on personal expenses rather than pay the
 5
      $45,661 he owed when he finally filed his 2016 Form 1040 in June of
 6
      2020.    The Defendant also received more than $500,000 in financial
 7
      support from Personal Friend during this period that he used to fund
 8
      his lifestyle and did not use any of those funds to pay any of his
 9
      outstanding taxes for 2016.
10
                                           The Charge
11
              65.   During the calendar year 2016, the Defendant ROBERT HUNTER
12
      BIDEN had and received taxable income of $1,276,499, on which taxable
13
      income there was owing to the United States of America an income tax
14
      of $45,661. He was required by law to pay, on or before April 18,
15
      2017, that income tax to the Internal Revenue Service. Well knowing
16
      all of the foregoing, he did willfully fail, on June 12, 2020, in the
17
      Central District of California and elsewhere, to pay the income tax
18
      due to the Internal Revenue Service Center at San Francisco,
19
      California, or to another Internal Revenue Service office permitted
20
      by the Commissioner of Internal Revenue, including the Internal
21
      Revenue Service office in Los Angeles, California.
22
              In violation of Title 26, United States Code, Section 7203.
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     Case 2:23-cr-00599-MCS   Document 1    Filed 12/07/23   Page 21 of 56 Page ID #:21



 1                                         COUNT TWO

 2               [26 U.S.C. § 7203: failure to pay 2017 Form 1040]

 3         66.   The Grand Jury re-alleges paragraphs 1 through 48 of this

 4    Indictment here.

 5       A. The Defendant earned a substantial income in 2017.

 6         67.   Over the course of 2017, the Defendant earned approximately
 7    $2,376,436 in gross income from the sources identified above.
 8       B. The Defendant had a legal obligation to file a U.S. Individual
 9         Income Tax Return for 2017.
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           68.   For tax year 2017, anyone under 65, filing jointly with
11
      their spouse, or individually, and who made more than $20,800 or
12
      $10,400, respectively, had to file a federal tax return by April 17,
13
      2018, unless granted an extension to October 15, 2018.
14
         C. The Defendant did not timely file a U.S. Individual Income Tax
15
           Return for 2017.
16
           69.   The Defendant did not timely file his 2017 Form 1040 by
17
      October 15, 2018, when it was due.
18
         D. The Defendant knew he had to file and pay taxes for 2017.
19
           70.   Beginning in early 2017, the Defendant withdrew and
20
      transferred funds from Owasco, PC’s corporate accounts for his
21
      personal benefit. He transferred these funds outside of Owasco, PC’s
22
      established payroll system, which meant that taxes were not withheld
23
      from these transfers. When Business Associate 4 discovered that the
24
      Defendant was subverting the established payroll and tax withholding
25
      process, Business Associate 4 met with and advised the Defendant that
26
      he was not withholding enough money in taxes and that he would have a
27
      large tax liability due at the end of the year unless he allocated
28
      sufficient withholdings.
                                              21
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 1         71.   From September 1 to December 31, 2017, at the Defendant’s

 2    direction, Owasco, PC made approximately $590,719 in direct payments

 3    to the Defendant or indirect payments to third parties for his

 4    benefit.

 5         72.   On or about April 16, 2018, the day before his 2017 taxes

 6    were due, D.C. Accountant emailed the Defendant’s personal assistant

 7    at that time, hereafter “Personal Assistant 2” and advised that the

 8    Defendant “owes a lot of money” for the 2017 tax year and inquired if

 9    the Defendant had cash available for tax payments as “he really

10    should pay as much as he can.” In response, Personal Assistant 2 set

11    up a call between the Defendant and D.C. Accountant for the next day.

12    After that call, D.C. Accountant filed an extension on the

13    Defendant’s behalf making his tax filings, although not his tax

14    payments, due on October 15, 2018.

15         73.   For the 2017 tax year, D.C. Accountant prepared the

16    Defendant’s individual and corporate income tax returns and

17    repeatedly attempted to provide them to the Defendant throughout the

18    fall of 2018.

19         74.   On or about October 12, 2018, D.C. Accountant emailed the

20    Defendant advising him that he owed approximately $600,000 in

21    individual income taxes and an additional $204,000 in corporate

22    income taxes on behalf of Owasco, PC. D.C. Accountant further

23    reminded the Defendant that the tax returns were due and encouraged

24    him to file.

25         75.   On or about October 13, 2018, instead of responding to D.C.

26    Accountant, the Defendant texted his ex-wife that he could not make

27    his alimony payment because “the wire came back due to insufficient

28    funds--/you know tuitions alimony taxes rent. Jesus.” (emphasis

                                             22
     Case 2:23-cr-00599-MCS    Document 1   Filed 12/07/23   Page 23 of 56 Page ID #:23



 1    added).       The Defendant had not paid his 2017 taxes when he sent that

 2    text.

 3            76.    On or about October 23, 2018, D.C. Accountant emailed the

 4    Defendant again advising him that his 2017 Form 1040 and Owasco, PC’s

 5    2017 Form 1120 were due on October 15 and were late. D.C. Accountant

 6    urged the Defendant “to get them filed as soon as possible since late

 7    filing and late payment penalties will continue to accrue.”

 8            77.    On or about November 8, 2018, D.C. Accountant emailed the

 9    Defendant again advising him that his “2017 tax returns are still

10    unfiled” and requesting an address where he could send the prepared

11    returns for the Defendant to sign and file.

12            78.    On or about November 9, 2018, D.C. Accountant emailed the

13    Defendant reminding him again that “You need to get 2017 filed so we

14    can try to work out a payment schedule.”

15            79.    On or about December 10, 2018, the Defendant texted his ex-

16    wife, “I have no money [ex-wife]. I’m waiting on a few things. When I

17    can pay the taxes, I will pay the taxes. I’m (sic) the meantime I’m

18    struggling to pay your alimony and all girls expenses.” (emphasis

19    added).

20            80.    On or about November 16, 2018, the Defendant texted

21    Personal Assistant 2 and asked her to send him “all auto pay expenses

22    and payroll breakdown please.” In response, on or about November 27,

23    Personal Assistant 2 advised the Defendant that D.C. Accountant was

24    “trying to reach you re: taxes” and she then sent him a breakdown

25    detailing that he had approximately $87,000 in monthly expenses, not

26    including payments for outstanding taxes. The Defendant subsequently

27    directed Personal Assistant 2 to pay some of his personal expenses,

28    including his boat loan payment, but not his taxes.

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 1         81.   On or about November 26, 2018, Personal Assistant 2

 2    forwarded him an email from his ex-wife.          In the forwarded email, the

 3    Defendant’s ex-wife told the personal assistant, “[the Defendant]

 4    needs to send [D.C. Accountant] an email confirmation that he

 5    approves sharing his tax returns with me and my accountant—that’s

 6    what we agreed to in the divorce settlement.”

 7         82.   On or about December 20, 2018, the Defendant’s ex-wife

 8    texted him and requested that the Defendant authorize D.C. Accountant

 9    to share the Defendant’s 2017 tax return with her, as the Defendant

10    was required to provide under the parties’ Marital Separation

11    Agreement. In response, the Defendant told her that, “My tax returns

12    aren’t completed. [D.C. Accountant] is going off information from

13    [Business Associate 4] that is not accurate at all. I don’t

14    understand. I will call him now.” He later sent a follow-up text

15    claiming, “I have no prepared tax returns to send you now.”

16         83.   On or about February 19, 2019, D.C. Accountant emailed the

17    Defendant and the Defendant’s attorney and reminded both that the

18    “2017 tax returns are complete and ready to file. Would you like me

19    to have copies sent to you electronically?”

20       E. The Defendant owed taxes for 2017, which he did not pay.

21         84.   The Defendant had a duty to pay $581,713 he owed in self-
22    assessed individual income taxes for 2017 on April 17, 2018, which he
23    chose not to do.
24         85.   To avoid being held in contempt of court in two separate
25    civil proceedings, the Defendant late filed his 2017 Form 1040 on
26    February 18, 2020.      In his 2017 Form 1040, the Defendant self-
27    assessed owing $581,713 in taxes.        His CA Accountants specifically
28    discussed with him the amounts he owed for his taxes.             The Defendant
                                             24
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 1    nonetheless chose not to make any payments when he filed on February

 2    18, 2020.

 3       F. The Defendant had the funds available to pay his individual

 4         income taxes when they were due.
 5         86.    In April 2018, the Defendant had over $1 million available
 6    in his individual and corporate bank accounts. Notwithstanding these
 7    available funds, the Defendant chose not to pay his outstanding 2017
 8    individual income tax liability of $581,713 when it was due.
 9       G. Rather than pay his taxes, the Defendant spent millions of
10         dollars on an extravagant lifestyle.
11
           87.    In 2018, the Defendant spent more than $1.8 million on
12
      personal expenses rather than pay his individual income taxes for
13
      2017 even though they were due in April 2018.
14
           88.    In 2019, the year prior to the filing of his 2017 Form 1040
15
      in February 2020, the Defendant spent more than approximately
16
      $600,000 on personal expenses rather than pay any of the $581,713 he
17
      owed when he finally filed his 2017 Form 1040.
18
                                           The Charge
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           89.    During the calendar year 2017, the Defendant ROBERT HUNTER
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      BIDEN had and received taxable income of $1,956,003, on which taxable
21
      income there was owing to the United States of America an income tax
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      of $581,713. He was required by law to pay, on or before April 17,
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      2018, that income tax to the Internal Revenue Service Center, at San
24
      Francisco, California, or to another Internal Revenue Service office
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      permitted by the Commissioner of Internal Revenue, including the
26
      Internal Revenue Service office in Los Angeles, California. Well
27
      knowing all of the foregoing, he did willfully fail on April 17,
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 1    2018, and on February 18, 2020, in the Central District of California

 2    and elsewhere, to pay the income tax due.

 3         In violation of Title 26, United States Code, Section 7203.

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     Case 2:23-cr-00599-MCS   Document 1   Filed 12/07/23   Page 27 of 56 Page ID #:27



 1                                     COUNT THREE

 2               [26 U.S.C. § 7203: failure to file 2017 Form 1040]
 3
           90.   The Grand Jury re-alleges paragraphs 1 through 48 and 67
 4
      through 88 of this Indictment here.
 5
           91.   During the calendar year 2017, the Defendant ROBERT HUNTER
 6
      BIDEN had received gross income in excess of $2.3 million. By reason
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      of such gross income, he was required by law, following the close of
 8
      the calendar year 2017 and on or before October 15, 2018, to make an
 9
      income tax return to the Internal Revenue Service, stating
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      specifically the items of his gross income and any deductions and
11
      credits to which he was entitled. Knowing and believing all of the
12
      foregoing, he did willfully fail, on or about October 15, 2018, in
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      the Central District of California and elsewhere, to make an income
14
      tax return.
15
           In violation of Title 26, United States Code, Section 7203.
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 1                                         COUNT FOUR

 2               [26 U.S.C. § 7203: failure to pay 2018 Form 1040]

 3         92.   The Grand Jury re-alleges paragraphs 1 through 48 of this

 4    Indictment here.

 5       A. The Defendant earned a substantial income in 2018.

 6         93.   Over the course of 2018, the Defendant earned approximately
 7    $2,187,286 in gross income from the sources identified above.
 8       B. The Defendant had a legal obligation to file a U.S. Individual
 9         Income Tax Return in 2018.
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           94.   For tax year 2018, anyone under 65, filing individually,
11
      and who made more than $12,000, had to file a federal tax return by
12
      April 15, 2019, unless granted an extension to October 15, 2019.
13
         C. The Defendant did not timely file a U.S. Individual Income Tax
14
           Return for 2018.
15
           95.   The Defendant did not timely file his 2018 Form 1040 by
16
      October 15, 2019, when it was due.
17
         D. The Defendant knew he had to file and pay taxes for 2018.
18
           96.   On January 24, 2019, D.C. Accountant emailed the Defendant
19
      and the Defendant’s attorney advising, “The 2018 tax return for
20
      Owasco, PC is due to be filed on April 15, 2019.”
21
           97.   Between April 13 and April 15, 2019, the Defendant, D.C.
22
      Accountant, and the Defendant’s attorney corresponded regarding the
23
      need for the Defendant to file a U.S. Individual Income Tax Return or
24
      tax extension for the 2018 tax year and to pay taxes. Ultimately, an
25

26    extension was filed making the tax filings, but not the tax payments,

27    due on October 15, 2019.

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 1       E. The Defendant owed taxes for 2018, which he did not pay.

 2         98.   The Defendant owed $620,901 in individual income taxes for
 3    2018 due by April 15, 2019, which he chose not to pay.
 4         99.   To avoid being held in contempt of court in two separate
 5    civil proceedings, the Defendant late filed his 2018 Form 1040 on
 6    February 18, 2020. In his tax return for 2018, he self-assessed owing
 7    $620,901 in taxes.      His CA Accountant specifically discussed with him
 8    the amount of taxes that he owed, and he chose not to make any
 9    payments when he filed.
10       F. The Defendant had the funds available to pay his individual
11         income taxes when they were due.
12         100. Roughly contemporaneous with the arrest of P.H., an
13    individual associated with CEFC, on or about November 2, 2017, HWIII
14    received a $1,000,000 deposit. At the Defendant’s direction, on or
15    about March 22, 2018, the funds were transferred to Owasco, LLC. The
16    memo line of this transfer indicated it was for “[P.H.]
17    Representation.” To justify the transfer, HWIII was provided with a
18    letter stating that the funds were a retainer for the Defendant’s
19    representation of P.H., who was under criminal investigation in the
20    United States.
21         101. Separate and apart from this million-dollar payment, around
22    the time that his 2018 individual income tax was required to be paid,
23    the Defendant received substantial amounts of money which could have
24    satisfied his entire tax liability of $620,901, including:
25               a.    March 6, 2019: $50,000 from Trial Attorney;
26               b.    March 20, 2019: $10,000 from Skaneateles;
27               c.    March 21, 2019: $618,681 from Skaneateles (related
28    to Global);
                                             29
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 1                 d.   March 21, 2019: $40,150 from Burisma; and

 2                 e.   April 24, 2019: $39,923 from Burisma.

 3         102. From January through October 15, 2020, the Defendant

 4    received the benefit of Personal Friend paying more than $1.2 million

 5    of the Defendant’s personal expenses but the Defendant did not direct

 6    any of those funds towards his outstanding 2018 federal individual

 7    income taxes.

 8       G. Rather than pay his taxes, the Defendant spent millions of

 9         dollars on an extravagant lifestyle.
10
           103. The Defendant continued to earn handsomely and to spend
11
      wildly in 2018.    The Defendant’s expenditures increased as his income
12
      increased. In 2018, the Defendant spent more than $1.8 million,
13
      including approximately $772,000 in cash withdrawals, approximately
14
      $383,000 in payments to women, approximately $151,000 in clothing and
15
      accessories, approximately $78,000 in miscellaneous retail purchases
16
      and other payments.     The Defendant did not use any of these funds to
17
      pay his taxes in 2018.
18
           104. In 2019, the year when his 2018 taxes were due, the
19
      Defendant spent approximately $600,000 on personal expenses rather
20
      than pay any of the $620,901 he owed when he finally filed his 2018
21
      Form 1040.
22
                                           The Charge
23
           105. During the calendar year 2018, the Defendant ROBERT HUNTER
24
      BIDEN, had and received taxable income in excess of $1.6 million, on
25
      which taxable income there was owing to the United States of America
26
      an income tax of $620,901. He was required by law to pay, on or
27
      before April 15, 2019, that income tax to the Internal Revenue
28
      Service Center, at San Francisco, California, or to another Internal
                                        30
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 1    Revenue Service office permitted by the Commissioner of Internal

 2    Revenue including the Internal Revenue Service office in Los Angeles,

 3    California. Well knowing all of the foregoing, he did willfully fail

 4    on April 15, 2019, and on February 18, 2020, in the Central District

 5    of California and elsewhere, to pay the income tax due.

 6         In violation of Title 26, United States Code, Section 7203.

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 1                                         COUNT FIVE

 2               [26 U.S.C. § 7203: failure to file 2018 Form 1040]
 3
           106. The Grand Jury re-alleges paragraphs 1 through 48 and 93
 4
      through 104 of this Indictment here.
 5
           107. During the calendar year 2018, the Defendant ROBERT HUNTER
 6
      BIDEN, had and received gross income in excess of $2.1 million.                By
 7
      reason of such gross income, he was required by law, following the
 8
      close of calendar year 2018, and on or before October 15, 2019, to
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      make an income tax return to the Internal Revenue Service, stating
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      specifically the items of his gross income and any deductions and
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      credits to which he was entitled.         Knowing and believing all of the
12
      foregoing, he did willfully fail, on or about October 15, 2019, in
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      the Central District of California and elsewhere, to make an income
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      tax return.
15
           In violation of Title 26, United States Code, Section 7203.
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 1                                         COUNT SIX

 2         [26 U.S.C. § 7201: evasion of assessment for 2018 Form 1040]

 3         108. The Grand Jury re-alleges paragraphs 1 through 48 and 93

 4    through 104 of this Indictment here.

 5       A. The Defendant finally filed his 2018 Form 1040 in 2020 in order

 6         to avoid being held in contempt of court in two civil
 7         proceedings.
 8         109. As described above, in 2019 and 2020, the Defendant finally
 9    prepared and filed his income tax returns for 2018 in order to avoid
10    being held in contempt of court in two civil proceedings.
11       B. The Defendant hired accountants in California to complete his
12         2018 returns.
13         110. In or around November 2019, the Defendant hired the CA
14    Accountants to prepare his individual income tax returns and
15    corporate income tax returns for Owasco, PC for 2017 and 2018.
16         111. While D.C. Accountant had already created financial and
17    accounting records in connection with the 2017 tax returns, no
18    similar records existed for 2018. Therefore, the CA Accountants used
19    available bank and credit card statements to create various
20    schedules, including schedules for different categories of expenses,
21    and a general ledger for Owasco, PC. A bookkeeper initially
22    classified each expense. The CA Accountants then requested that the
23    Defendant review and confirm the accuracy of the prepared schedules
24    and ledger.
25         112. The CA Accountants also identified records for the
26    Defendant that they did not have. These included details for wire
27    transfers from Owasco, PC’s Wells Fargo account to accounts at JP
28    Morgan Chase that were owned by others and statements for a Wells
                                              33
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 1    Fargo business line of credit ending in 7350 (hereafter “business

 2    line of credit”).

 3         113. On or about January 28, 2020, the CA Accountants requested

 4    that the Defendant sign a representation letter. The Defendant signed

 5    this letter in which he promised that he had made available “all the

 6    records and information regarding my income . . . and deductions as

 7    necessary for you to prepare the returns.” The Defendant further

 8    confirmed his understanding that the CA Accountants were “relying on

 9    [him] to provide complete and accurate information,” and that he was

10    responsible for the final “accuracy and completeness for the tax

11    returns.”

12       C. The Defendant claimed extensive business travel in 2018 when he

13         had none.
14         114. In working with the CA Accountants to prepare the returns,
15    the Defendant claimed business expenses, including approximately
16    $388,810 in business-related travel, despite having done little to no
17    business in that year.      At the same time the Defendant was making
18    those representations to the CA Accountants, the Defendant was
19    working on his memoir, which was not published until after he filed
20    his 2018 returns and which he did not share with them.             Unbeknownst
21    to the CA Accountants, in his memoir, the Defendant described 2018 as
22    being dominated by crack cocaine use “twenty-four hours a day,
23    smoking every fifteen minutes, seven days a week.” In fact, the
24    Defendant never told the CA Accountants about his extensive drug and
25    alcohol abuse in 2018 which might have prompted greater scrutiny of
26    his claims of hundreds of thousands of dollars in business expenses.
27         115. Rather than conducting business, and generating business
28    expenses, the Defendant wrote in his memoir that after he arrived in
                                             34
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 1    California in April 2018, for the next “four or five months,” he

 2    surrounded himself with and paid for an entourage of:

 3         . . . thieves, junkies, petty dealers, over-the-hill
           strippers, con artists, and assorted hangers-on, who then
 4         invited their friends and associates and most recent
           hookups. They latched on to me and didn’t let go, all with
 5
           my approval. I never slept. There was no clock. Day bled
 6         into night and night into day.

 7         116. And the Defendant specifically described his stays in

 8    various luxury hotels in California and private rentals, and expenses

 9    related to them, in this way:

10                I stayed in one place until I tired of it, or
                  until it tired of me, and then moved on, my
11                merry band of crooks, creeps, and outcasts
                  soon to follow. Availability drove some of the
12                moves; impulsiveness drove others. A sample
13                itinerary: I left the Chateau [Marmont] the
                  first time for an Airbnb in Malibu. When I
14                couldn’t reserve it for longer than a week, I
                  returned to West Hollywood and the Jeremy
15                hotel. There were then stays at the Sunset
                  Tower, Sixty Beverly Hills, and the Hollywood
16                Roosevelt. Then another Airbnb in Malibu and
17                an Airbnb in the Hollywood Hills. Then back to
                  the Chateau. Then the NoMad downtown, the
18                Standard on Sunset. A return to the Sixty, a
                  return to Malibu . . .
19                An ant trail of dealers and their sidekicks
                  rolled in and out, day and night. They pulled
20                up in late-series Mercedes-Benzes, decked out
                  in oversized Raiders or Lakers jerseys and
21
                  flashing fake Rolexes. Their stripper
22                girlfriends invited their girlfriends, who
                  invited their boyfriends. They’d drink up the
23                entire minibar, call room service for filet
                  mignon and a bottle of Dom Pérignon. One of
24                the women even ordered an additional filet for
                  her purse-sized dog.
25

26    Notably, the Defendant did not write that he conducted any business

27    in any of these luxury hotels nor did he describe any of the

28

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 1    individuals who visited him there as doing so for any business

 2    purpose.

 3       D. The Defendant failed to identify all personal expenses paid

 4         using corporate funds.
 5         117. On January 28, 2020, the Defendant met with the CA
 6    Accountants in person at their office for more than three hours.
 7    During this meeting the Defendant reviewed the General Ledger and
 8    various schedules for Owasco, PC including a purported “Office
 9    Expense” schedule and a purported “Professional and Outside Service”
10    schedule to confirm their accuracy.
11         118. The General Ledger that the Defendant reviewed included
12    thousands of dollars of personal expenses at luxury hotels, many of
13    which were specifically identified in the Defendant’s memoir, as
14    described above.    The Defendant never disclosed to the CA Accountants
15    that his time spent in California in 2018 was not for business
16    purposes.   For example, the General Ledger contained:
17                a.   $1,716 for a stay at the Borgata in Atlantic City, New
18    Jersey, in February 2018;
19                b.   $2,996 for flights on Virgin America to Los Angeles
20    for the Defendant in April 2018;
21                c.   $1,727 related to the rental of a Lamborghini that he
22    drove when he first moved to California in April 2018;
23                d.   $43,693 for stays at the Chateau Marmont Hotel in
24    Los Angeles, California, in April and May 2018;
25                e.   $463 so that his then-girlfriend could ship boxes
26    containing clothing to California in April 2018;
27                f.   $7,215 for Airbnb rentals for his then-girlfriend, in
28    Los Angeles, California, in May and June 2018;
                                             36
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 1                g.   $2,200 paid to the Nomad Hotel in Los Angeles in July

 2    2018; and

 3                h.   $8,996 paid to John Hancock for the Defendant’s

 4    personal life insurance in October 2018.

 5         119. The General Ledger the Defendant reviewed also contained

 6    $11,555 in rent payments for his daughter’s apartment in New York

 7    City that were characterized as “Travel, Trans. & Other.”              The

 8    Defendant failed to inform the CA Accountants that he had used the

 9    Owasco, PC account to make these rent payments.

10         120. While he reviewed the schedules for “Office Expenses” and

11    “Professional and Outside Services,” the Defendant affirmatively

12    identified, with a yellow highlighter, personal expenses that should

13    not be deducted as business expenses.

14         121. While the Defendant identified personal expenses on the

15    “Office Expense” Schedule, including ones as small as a $15 payment

16    to a tattoo parlor and a $35.56 payment to a bookstore, he did not

17    identify the following personal expenses:

18                a.   A $1,500 Venmo payment on August 14, 2018.            That

19    payment was to an exotic dancer, at a strip club.            The Defendant
20
      described the payment in the Venmo transaction as for “artwork.” The
21
      exotic dancer had not sold him any artwork.
22
                  b.   A $975 payment to “Crutch Card” on September 21, 2018;
23
      this was for the benefit of the Defendant’s then-girlfriend and was
24

25    unrelated to any business activity of the Defendant’s.

26                c.   A $438 payment on May 15, 2018, to “Shinola.”               Shinola

27    was a clothing store where the Defendant purchased personal items.
28

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 1                d.    Payments totaling $11,500 for an escort paid by the

 2    Defendant to spend two nights with him.

 3                e.    $2,312.50 paid to P&P Matters, Inc., and an additional

 4    check to P&P Matters, Inc., in the amount of $3,450, a test prep

 5    service for his daughter.

 6                f.    $499.61 paid to Sermoneta Gloves for expensive

 7    personal items for himself and this then-girlfriend.

 8         122. The “Professional and Outside Service” schedule included a

 9    $30,000 payment to Columbia University for the Defendant’s daughter’s

10    law school tuition.     While the Defendant identified other personal

11    expenses on the Professional and Outside Services Schedule as

12    personal expenditures, he did not identify this one, which was, in

13    fact, the largest line item on the Professional and Outside Services

14    schedule.

15       E. The Defendant falsely claimed that money paid to women with whom

16         he had personal relationships was wages, reducing his tax
17         burden.
18         123. During that January 28, 2020 meeting, the Defendant was
19    also shown a Profit and Loss statement for Owasco, PC that included
20    $86,000 in wages to purported employees of Owasco, PC.             The Defendant
21    knew this was a false deduction but failed to inform the CA
22    Accountants.     He knew it was false because despite being engaged in
23    little to no business activity, the Defendant directed Personal
24    Assistant 2 in 2018 to place on payroll and provide health care
25    benefits to three women with whom he had romantic or sexual
26    relationships and a fourth woman who was related to one of those
27    women.   These payroll expenses were treated as business expenses on
28    Owasco, PC’s Form 1120, reducing the amount of income to the
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 1    Defendant and, as a result, his individual income tax liability.                   The

 2    women that received wages included:

 3               a.     Person 1, described above as bringing a paternity suit

 4    against the Defendant, who had been engaged in a romantic relationship
 5
      with the Defendant from 2017 to 2018.           The Defendant placed Person 1
 6
      on payroll shortly after she moved to Arkansas while she was pregnant
 7
      with his child.    Person 1 did not perform any work after being formally
 8
      placed on payroll in spring 2018 and had no work-related communication
 9

10    with the Defendant after she was placed on payroll. Person 1 received

11    $22,500 in wages which the Defendant falsely claimed as a business

12    deduction reducing the income to him from Owasco, PC and his individual
13    income taxes.    Later, in November 2018, the Defendant had the following
14
      text exchange with Personal Assistant 2 regarding Person 1:
15
                  THE DEFENDANT: [T]ake [Person 1] off payroll I
16                thought you said she decidedly dint (sic) want
                  to work and didn’t need health insurance
17                anyway. Remember that conversation?
18                PERSONAL ASSISTANT 2: No. I do not remember
19                that conversation. I remember a conversation
                  where I was disappointed that you wanted to pay
20                her the same rate as me. But I am over that.
                  Maybe she told you that but I wasn’t involved.
21
                  THE DEFENDANT: regardless [] thats (sic) was if
22                she was working a 40 hour week full time for
                  me. I haven’t talked to [Person 1] in 7
23
                  months???????
24
                 b.     Person 2 is someone with whom the Defendant had a
25
      romantic relationship and who did no work, nor was she expected to do
26
      any work for Owasco, PC. The Defendant placed Person 2 on payroll in
27
      Spring 2018 in order to provide her with health insurance.             In addition
28

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 1    to health insurance, Person 2 received $11,000 in wages, which the

 2    Defendant falsely claimed as a business deduction reducing the income
 3
      to him from Owasco, PC and his individual income taxes.
 4
                  c.    The Defendant placed Person 3 on payroll in spring 2018.
 5
      Person 3 was a family member of Person 2’s. Person 3 received $11,000
 6
      in wages which the Defendant falsely claimed as a business deduction
 7

 8    reducing the income to him from Owasco, PC and his individual income

 9    taxes.   Prior to being placed on payroll, Person 3 had assisted the

10    Defendant with personal errands and some light clerical work. After
11    being placed on payroll, Person 3 did not perform any work-related
12
      services.
13
                  d.    The Defendant placed Person 4 on payroll in summer 2018.
14
      Person 4 had a sexual relationship with the Defendant and acted as a
15
      “West Coast” personal assistant, running errands, and performing other
16

17    personal tasks.    Person 4 received $13,000 in wages which the Defendant

18    falsely claimed as a business deduction reducing the income to him from

19    Owasco, PC and his individual income taxes.           By November 2018, although
20
      the Defendant continued to pay Person 4 through payroll, he had limited
21
      to no contact with her. This prompted Person 4 to email Personal
22
      Assistant 2 in January 2019 to inquire about her employment status and
23
      to state that the Defendant “has not responded to me or reached out to
24

25    me for some months now.”

26                                                               \

27

28

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 1       F. The Defendant falsely identified personal expenses as business

 2         deductions paid out of his individual accounts.
 3         124. In the same January 28, 2020 meeting referenced above the
 4    CA Accountants also provided the Defendant with copies of bank
 5    statements for his individual account at Wells Fargo ending in 4929
 6    and an Owasco, LLC account at Wells Fargo ending in 1553 and asked
 7    him to identify any corporate expenses to be deducted on Owasco, PC’s
 8    Form 1120.    The Defendant then circled certain expenses by hand.
 9    Many of the expenses the Defendant circled were not, as he knew,
10    business expenses.      Instead, they were personal expenses generated
11    during what he described in his memoir as a “bacchanal” in 2018.                   For
12    example,
13                 a.   The Defendant circled $1,248 in payments for airline
14    tickets as a business expense for an exotic dancer to fly from Los
15    Angeles to New York in September 2018;
16                 b.   The Defendant circled $3,852 as a business expense for
17    the rental of a Lamborghini that he drove when he first moved to
18    California in April 2018 until his Porsche was shipped from the East
19    Coast;
20                 c.   Similarly, the Defendant circled hotel stays claiming
21    they were business expenses, including approximately:
22                      i.    $4,478 paid to the Chateau Marmont in Los
23    Angeles, California, in April and May 2018;
24                      ii.   $11,133 paid to the Hollywood Roosevelt in Los
25    Angeles, California, in May 2018;
26                      iii. $11,169 paid to the Sixty Beverly Hills in June
27    and July 2018;
28

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 1                      iv.     $9,494 paid to the Kimpton La Peer Hotel in

 2    Beverly Hill, California in July and October 2018;

 3                      v.       $4,004 paid to the London West Hotel, in

 4    Beverly Hills, California in July 2018;

 5                      vi.     $4,347 paid to Caesars Palace in Las Vegas in

 6    August 2018;

 7                      vii. $7,761 paid to the Jeremy Hotel in Hollywood in

 8    May 2018;

 9                      viii.         $1,023 paid to the District Hotel in

10    Washington, D.C. in May and June 2018;

11                      ix.     $739 paid to 1 Hotel Park in New York City in

12    January 2018; and

13                      x.      $2,861 paid to the Roxy Hotel in New York City in

14    June and December 2018.

15    A number of these were the very same hotels that the Defendant

16    identified, by name, in his memoir as the locations of his months-

17    long drug and alcohol binge.

18            125. The Defendant also circled a $275 dinner he had with his

19    then-girlfriend on April 12, 2018, at Nobu.

20            126. In total, the Defendant identified over 100 supposed travel

21    expenditures, worth nearly $134,000 from his Wells Fargo individual

22    account ending in 4929 and the Wells Fargo Owasco, LLC account ending

23    in 1553. Approximately 78 of the “travel” expenditures worth $112,000

24    were made between April and September 2018.             The Defendant used these

25    hotels as personal residences since he chose not to have one at the

26    time.    Further there was no business purpose to staying at luxury

27    hotels in Atlantic City, New York City and Los Angeles.                Rather, as

28

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 1    he described in his memoir, they were used to meet up with his then-

 2    girlfriend and for constant partying.

 3         127. The Defendant also circled multiple direct payments to

 4    Person 3, totaling $18,400 from his personal Wells Fargo bank account

 5    and $10,000 from the Wells Fargo Owasco, LLC account, falsely

 6    claiming they were business expenses.         These payments were in

 7    addition to any money paid to Person 3 for any work she performed and

 8    in addition to what she received as wages.            Based on the Defendant’s

 9    false representations, the CA Accountants classified the payments as

10    deductions which reduced the income to him from Owasco, PC and his

11    income tax.    Further, during his meeting with the CA Accountants on

12    January 28, 2020, the Defendant falsely told the CA Accountants that

13    all payments to Person 3 in 2018 were “100% business related.”

14       G. The Defendant wired money to JP Morgan Chase to pay personal

15         expenses and falsely represented to the CA Accountants that
16         these wire transfers were business expenses.
17         128. During the January 28, 2020 meeting the Defendant falsely
18    told the CA Accountants that $57,000 worth of payments wired from
19    Owasco, PC’s bank account to JP Morgan Chase were all business
20    related.   On February 6, 2020, the Defendant repeated this
21    misrepresentation and told the CA Accountants that these payments
22    were to a third party for consulting services.
23         129. The CA Accountants did not have access to the details of
24    the wire transfers from Owasco, PC’s account to JP Morgan Chase and
25    repeatedly asked the Defendant to provide that detail.             He did not.
26         130. In truth, the wire transfers from the Owasco, PC account to
27    JP Morgan Chase were to pay for personal expenses, for example:
28

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 1               a.    The Defendant paid Person 5 approximately $6,000 in

 2    July and August 2018. Person 5 “cleaned and [] ran errands, simple

 3    things like going to get him some boxers, or get him some food, go

 4    grocery shopping, or just grabbing the alcohol. . . that was really

 5    just the scope of it.”

 6               b.    In or about July 5, 2018, the Defendant sent a $18,000

 7    wire to Person 4, and the wire details, which the CA Accountants were
 8
      not shown, said $10,000 of it was for a “golf member deposit.” In fact,
 9
      at the Defendant’s direction, the $10,000 was used to purchase a
10
      membership in a sex club, which he visited with Person 4.
11
                 c.    The Defendant made an additional $26,500 in payments
12
      to Person 4 in June and October, in addition to what she received as
13
      wages.
14
           131. Based on the Defendant’s representations, the CA
15
      Accountants classified the approximately $57,000 in payments from
16
      Owasco, PC’s Wells Fargo account to JP Morgan Chase as a business
17
      expense for consulting.      This had the effect of reducing the income
18
      paid to the Defendant from Owasco and reduced his individual income
19
      taxes.
20
         H. The Defendant used the business line of credit to pay personal
21
           expenses and falsely represented to the CA Accountants that it
22
           was for business expenses.
23
           132. Similarly, the Defendant also told CA Accountants that
24
      approximately $119,000 in payments from the Owasco, PC account used
25
      to pay off the business line of credit had also been for business
26
      expenses, including travel.
27

28

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 1          133. The CA Accountants did not have access to the statements

 2    for the business line of credit and repeatedly asked the Defendant to

 3    provide them.    He did not.

 4          134. In truth, the Defendant had used the business line of

 5    credit to pay for luxury hotels, restaurants, high-end clothing, and

 6    other personal items in New York and in California during 2018, among

 7    others. For example, the Defendant charged the business line of

 8    credit:

 9               a.    $1,713 paid to the 1 Hotel Park in New York City in

10    December 2017 and January 2018;

11               b.    $567 paid to “Primp in Home,” a mobile spa, for his

12    then-girlfriend, in New York City in January 2018;

13               c.    $3,941 paid to Rag & Bone, a high-end clothing store

14    in New York City for items for himself and his then-girlfriend, in

15    January 2018;

16               d.    $469 paid to the Watergate Hotel in Washington, D.C.

17    in January 2018;

18               e.    $3,947 in payments made to M Street Management, a

19    strip club in Washington, D.C., in January 2018;

20               f.    $3,373 paid to Expedia for a hotel stay in New York

21    City in February 2018;

22               g.    $5,425 paid to the Soho Grand Hotel in New York City

23    in January and March 2018;

24               h.    $2,952 paid to the 6 Columbus Circle hotel in New York

25    City in January 2018;

26               i.    $773 via Venmo on April 1, 2018, to an exotic dancer;

27    and

28

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 1                 j.   $1,219 paid to the District Hotel in Washington, D.C.,

 2    in January 2018;

 3         135. The Defendant also used the business line of credit to make

 4    payments for the benefit of his children and his own benefit because

 5    it artificially reduced his income tax liability including:

 6                 a.   $19,535 in rent payments for one of his daughters in

 7    New York City; and

 8                 b.   $1,509 in payments to another daughter.

 9         136. The Defendant also used the business line of credit to make

10    $27,316 in payments to an online pornography website, which in total

11    accounted for one fifth of all of the business line of credit

12    expenditures.     The Defendant also used the Owasco, PC Wells Fargo

13    account to make payments to the same site.            The latter category of

14    payments were initially captured in the Office Expense schedule and

15    the Defendant identified them as personal expenses and they were

16    removed.    Yet he failed to inform the CA Accountants that he had also

17    used the business line of credit to make payments to the same

18    pornography website and failed to provide them with statements from

19    the business line of credit that would have revealed this to them.

20         137. Based on the Defendant’s representation, the CA Accountants

21    categorized the business line of credit payments as travel and meal

22    expenses.    Treating payments from Owasco, PC to the business line of

23    credit as business related caused the Owasco, PC Form 1120 to

24    overstate its business expenses, to reduce the Defendant’s taxable

25    income and therefore artificially reduced his individual income tax

26    liability.

27

28

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 1       I. The Defendant knowingly signed false tax returns.

 2       138.      On or about Wednesday, February 5, 2020, the Defendant
 3    emailed the CA Accountants the following:
 4         Wanted to know where we stand on filing. I have a deadline
           to share 16/17/18 returns with my ex-wife by Friday. Even
 5         if we have not filed 17/18 I would like to get the 16
           completed return (she needs to sign anyway) and drafts of
 6
           17/18 to her. Please Advise. Thanks.
 7

 8         139. On or about February 7, 2020, the CA Accountants

 9    transmitted draft 2018 Forms 1040 and 1120 to the Defendant’s

10    counsel, seeking any “proposed changes, comments, or thoughts.” The

11    cover email noted that there was “information still outstanding that

12    [the accountants] would prefer to obtain before filing the returns;

13    however, if you and our client feel it necessary to file these

14    returns on Monday, we will follow your instruction and finalize the

15    returns as is.” The CA Accountants then listed the missing

16    information, which included statements supporting the business line

17    of credit for 2017 and 2018.         No comments or questions were received,

18    and the CA Accountants did not modify the draft returns.

19         140. On or about February 11, 2020, the Defendant met with the

20    CA Accountants. The Defendant reviewed and discussed his individual

21    and corporate income tax returns for 2017 and 2018 with the CA

22    Accountants.    After reviewing them, the Defendant signed the tax

23    returns.   The returns were then mailed to the IRS at the Defendant’s

24    direction.

25         141. The 2018 Form 1120 contained false information, on line 26

26    and in Statement 3 in the return and elsewhere including but not

27    limited to the following:

28

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 1               a.    Claiming false “Travel, Transportation and Other”

 2    deductions including, but not limited to, luxury vehicle rentals,

 3    house rentals for his then-girlfriend, hotel expenses, and New York

 4    City apartment rent for his daughter;

 5               b.    Claiming false “Office and Miscellaneous” deductions,

 6    including, but not limited to, the purchase of luxury clothing,

 7    payments to escorts and dancers, and payments for his daughter’s

 8    college advising services;

 9               c.    Claiming false “Legal Professional and Consulting”

10    deductions, including, but not limited to, payment of his daughter’s

11    law school tuition and his personal life insurance policy;

12               d.    Claiming false deductions for payments from Owasco,

13    PC’s account to pay off the business line of credit, specifically by

14    allocating 80 percent to “Travel Transportation and Other” and 20

15    percent to “Meals,” when in truth and in fact most of the business

16    line of credit expenses were personal, including to a website

17    providing pornographic content, payments at a strip club, and

18    additional rent payments for his daughter; and

19               e.    Claiming false deductions for payments from Owasco,

20    PC’s account to JP Morgan Chase, specifically that these were for

21    “consulting,” when in truth and in fact, these transfers included

22    payments to various women who were either romantically involved with

23    or otherwise performing personal services for the Defendant,

24    including a $10,000 payment for his membership in a sex club.

25         142. The 2018 Form 1120 also contained false information, on

26    line 13, specifically, claiming false payroll deductions, including

27    deductions for “wages” paid to women with whom he had personal

28    relationships including a woman who was then pregnant with his child.

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 1         143. The 2018 Form 1040 contained false information, on line 6,

 2    as the Defendant underreported his total income.             That is, the

 3    Defendant failed to include in his total income the use of Owasco,

 4    PC’s corporate funds to pay for his personal expenses.

 5         144. Because these false business deductions were in fact

 6    payments of the Defendant’s personal expenses, they should have been

 7    categorized as income to him from Owasco, PC which he, in turn, would

 8    have had to report on his 2018 Form 1040 and pay tax on that income.

 9    Because these personal expenses were falsely categorized by the

10    Defendant as business expenses, he falsely underreported his income

11    from Owasco, PC, on line 6 of his 2018 Form 1040 and self-assessed a

12    lower amount of tax due and owing than was accurate.

13                                         The Charge

14         145. From on or about January 1, 2018, through on or about
15    February 18, 2020, in the Central District of California and
16    elsewhere, the Defendant ROBERT HUNTER BIDEN, willfully attempted to
17    evade and defeat income tax due and owing by him to the United States
18    of America, for the calendar year 2018, by committing the following
19    affirmative acts among others:
20               a.    Preparing and causing to be prepared, and signing and
21    causing to be signed, a false and fraudulent U.S. Individual Income
22    Tax Return, Form 1040, which was submitted to the Internal Revenue
23    Service;
24               b.    Using, and causing to be used, Owasco, PC funds to pay
25    for personal expenses and later deducting, and causing to be
26    deducted, these same personal expenses as corporate expenses on the
27    Owasco, PC tax return on Form 1120;
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 1               c.    Claiming personal expenses, paid with personal funds,

 2    were business expenses of Owasco, PC and deducting and causing to be

 3    deducted, these same personal expenses as corporate expenses on the

 4    Owasco, PC tax return on Form 1120; and

 5               d.    Paying, and causing to be paid, by Owasco, PC certain

 6    salary and healthcare benefit expenses of individuals who performed

 7    no work on behalf of Owasco, PC while on payroll, and deducting and

 8    causing to be deducted, these same expenses as corporate expenses on

 9    the Owasco, PC tax return on Form 1120.

10         In violation of Title 26, United States Code, Section 7201.

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 1                                     COUNT SEVEN

 2       [26 U.S.C. § 7206: filing a false and fraudulent 2018 Form 1040]

 3         146. The Grand Jury re-alleges paragraphs 1 through 48, 93

 4    through 104 and 109 through 144 of this Indictment here.
 5
           147. On or about February 18, 2020, in the Central District of
 6
      California, and elsewhere, the Defendant ROBERT HUNTER BIDEN
 7
      willfully made and subscribed and filed and caused to be filed with
 8
      the Internal Revenue Service, a false 2018 Form 1040, which was
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10    verified by a written declaration that it was made under the

11    penalties of perjury and which Defendant did not believe to be true

12    and correct as to every material matter. That Form 1040 reported on
13    line 6 total income in the amount of $2,187,286, whereas, as
14
      Defendant knew, his income was greater because he had claimed false
15
      business deductions on Owasco, PC’s Form 1120 that were in fact
16
      additional income to him.
17
           In violation of Title 26, United States Code, Section 7206(1).
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     Case 2:23-cr-00599-MCS   Document 1   Filed 12/07/23   Page 52 of 56 Page ID #:52



 1                                     COUNT EIGHT

 2       [26 U.S.C. § 7206: filing a false and fraudulent 2018 Form 1120]

 3         148. The Grand Jury re-alleges paragraphs 1 through 48, 93

 4    through 104 and 109 through 144 of this Indictment here.

 5         149. On or about February 20, 2020, in the Central District of

 6    California, and elsewhere, the Defendant ROBERT HUNTER BIDEN
 7
      willfully made and subscribed and filed and caused to be filed with
 8
      the Internal Revenue Service, a false Form 1120, which was verified
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      by a written declaration that it was made under the penalties of
10
      perjury and which Defendant did not believe to be true and correct as
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12    to every material matter. The 2018 Form 1120 contained false

13    information on:

14               a.     line 26 and in Statement 3 in the return and elsewhere
15    including but not limited to the following:
16                      i.    Claiming false “Travel, Transportation and Other”
17    deductions including, but not limited to, luxury vehicle rentals,
18    house rentals for his then-girlfriend, hotel expenses, and New York
19    City apartment rent for his daughter;
20                      ii.   Claiming false “Office and Miscellaneous”
21    deductions, including, but not limited to, the purchase of luxury
22    clothing, payments to escorts and dancers, and payments for his
23    daughter’s college advising services;
24                      iii. Claiming false “Legal Professional and
25    Consulting” deductions, including, but not limited to, payment of his
26    daughter’s law school tuition and his personal life insurance policy;
27                      iv.   Claiming false deductions for payments from
28    Owasco, PC’s account to pay off the business line of credit,
                                             52
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 1    specifically by allocating 80 percent to “Travel Transportation and

 2    Other” and 20 percent to “Meals,” when in truth and in fact most of

 3    the business line of credit expenses were personal, including to a

 4    website providing pornographic content, payments at a strip club, and

 5    additional rent payments for his daughter; and

 6                      v.    Claiming false deductions for payments from

 7    Owasco, PC’s account to JP Morgan Chase, specifically that these were

 8    for “consulting,” when in truth and in fact, these transfers included

 9    payments to various women who were either romantically involved with

10    or otherwise performing personal services for the Defendant,

11    including a $10,000 payment for the Defendant’s membership in a sex

12    club.

13                 b.   on line 13, specifically, claiming false payroll

14    deductions, including, deductions for “wages” paid to women with whom

15    he had personal relationships including a woman who was then pregnant

16    with his child.

17            150. Because these false business deductions were in fact

18    payments of the Defendant’s personal expenses, they should have been

19    categorized as income to him from Owasco, PC which he, in turn, would

20    have had to report on his 2018 Form 1040 and pay tax on that income.

21    Because these personal expenses were falsely categorized by the

22    Defendant as business expenses, he falsely underreported his income

23    from Owasco, PC, on line 6 of his 2018 Form 1040 and self-assessed a

24    lower amount of tax due and owing than was accurate.

25            In violation of Title 26, United States Code, Section 7206(1).

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 1                                         COUNT NINE

 2               [26 U.S.C. § 7203: failure to pay 2019 Form 1040]

 3         151. The Grand Jury re-alleges paragraphs 1 through 48 of this

 4    Indictment here.

 5       A. The Defendant earned a substantial income in 2019.

 6         152. Over the course of 2019, the Defendant earned approximately
 7    $1,045,850 in gross income from the sources identified above.
 8       B. The Defendant had a legal obligation to file a U.S. Individual
 9         Income Tax Return and pay taxes in 2019.
10
           153. For tax year 2019, anyone under 65, filing individually,
11
      and who made more than $12,200, had to file a federal tax return.
12
           154. The deadline for filing federal tax returns and paying
13
      taxes for 2019 was July 15, 2020, because of an automatic extension
14
      provided by the IRS during the COVID-19 pandemic, unless a taxpayer
15
      filed for an extension, which made the deadline October 15, 2020.
16
         C. The Defendant knew he had to pay taxes for 2019.
17
           155. From at least January 2019 through September 2019, the
18
      Defendant was provided with periodic updates regarding his cashflow
19
      and outstanding liabilities, including his various income tax
20
      liabilities. The Defendant controlled his finances and directed which
21

22    bills should be paid, routinely choosing personal expenses over his

23    income tax liabilities.

24       D. The Defendant owed taxes for 2019, which he chose not to pay.
25         156. The Defendant filed a 2019 From 1040 on October 15, 2020,
26
      and self-reported that he earned total gross income of $1,045,850 and
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 1    taxable income of $843,577 and self-assessed that he owed $197,372 for

 2    the 2019 tax year.
 3
           157. The Defendant did not pay any of his outstanding tax debt
 4
      when he filed his return.
 5
         E. The Defendant had the funds available to pay his taxes.
 6
           158. In 2020, prior to when the Defendant filed the 2019 Form
 7
      1040, the Defendant’s agent received multiple payments from the
 8
      publisher of his memoir and then transferred the following amounts to
 9
      the Defendant’s wife’s account in the amounts and on the dates that
10
      follow:
11
                 a.    $93,750 on January 21, 2020; and
12
                 b.    $46,875 on May 26, 2020.
13

14       F. Rather than pay his taxes, the Defendant spent millions of dollars

15         on an extravagant lifestyle.

16         159. From January through October 15, 2020, the Defendant spent
17    more than $600,000 on personal expenses rather than pay any of the
18    $197,372 he owed for tax year 2019.
19                                         The Charge
20         160. During the calendar year 2019, the Defendant ROBERT HUNTER
21    BIDEN, had and received taxable income of $843,577, on which taxable
22    income there was owing to the United States of America an income tax
23    of $197,372. He was required by law to pay, on or before July 15,
24    2020, that income tax to the Internal Revenue Service Center, at San
25    Francisco, California, or to another Internal Revenue Service office
26    permitted by the Commissioner of Internal Revenue, including the
27    Internal Revenue Service office in Los Angeles, California. Well
28    knowing all of the foregoing, he did willfully fail on July 15, 2020,
                                               55
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 1    in the Central District of California and elsewhere, to pay the

 2    income tax due.

 3         In violation of Title 26, United States Code, Section 7203.

 4
                                                      A TRUE BILL
 5

 6
                                                         /s/
 7                                                    Foreperson

 8
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11
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